Case 1:21-cv-03068-BAH Document 40-5 Filed 07/26/22 Page 1 of 22




       EXHIBIT D
          Case 1:21-cv-03068-BAH Document 40-5 Filed 07/26/22 Page 2 of 22

                                               AIL
                                               —
                                               R. W
                      Akmistead, Lee, Kust & Wright, p.a.
                                      ATTORNEYS AT LAW

                                      114 Bay STREET, BUILDING C
                                       Easton, Maryland 21601

                                      Telephone: (410) 819-8989
                                      Facsimile: (410) 822-4787



                                                                                          Email Address
                                                                                 ZACHSMITH@ALRWLAW.COM


                                          November 5, 2021


VIA FEDERAL EXPRESS OVERNIGHT DELIVERY &
VIA USPS CERTIFIED MAIL


Big Horn Construction and Reclamation, LLC                     XL Specialty Insurance Company
777 Main Street                                                70 Seaview Avenue
Suite 2800                                                     Stamford, Connecticut 06902
Fort Worth, Texas 76102


        Re:     NOTICE OF CLAIM
                Project: MD70 “Richfield”
                Contractor: Big Horn Construction and Reclamation, LLC
                Surety: XL Specialty Insurance Company
                Payment Bond No.: US00104943SU21A
                Subcontractor: Richfield Farms, LLC

To Whom It May Concern:

       This letter is sent on behalf of Richfield Farms, LLC (“Richfield”) in connection with
material it provided to the project located in Dorchester County, Maryland known as “MD70
Richfield” (the “Project”). The material was provided to the Project by Richfield as a subcontractor
to Bighorn Construction and Reclamation LLC (“Bighorn”), the Principal under Subcontractor
Payment Bond No. US00104943SU21A (“Subcontractor Payment Bond”) issued by XL Specialty
Insurance Company. The material was provided for the benefit of Depcom Power, Inc., the Obligee
under the Subcontractor Payment Bond

        The material provided by Richfield to the Project included fill, stone and other aggregate, as
further described in the attached invoices. All materials were furnished between the approximate
dates of 7/1/21 and 9/8/21.




                                         2131461679666-M
         Case 1:21-cv-03068-BAH Document 40-5 Filed 07/26/22 Page 3 of 22

November 5, 2021
Page 2


       This letter shall serve as notice of a claim (the “Claim”) under the Subcontractor Payment
Bond issued by the Surety. The Claim arises because Bighorn has failed to pay amounts owed to
Richfield for material provided for the Project. The total amount billed to date by Richfield to
Bighorn for the Project is $300,258.49. To date Bighorn has paid $0, accordingly the total amount
earned by RichBeld and unpaid by Bighorn is $300,258.49.

        All material was provided pursuant to approved Purchase Orders issued by Big Horn,
including Purchase Orders: 09-1147-9065-51400,09-1149-4012-51400 and 09-1149-4013-51400,
which Purchase Orders total $291,267.38. While unpaid, payment of this amount was approved by
Bighorn, as evidenced by the attached screenshot dated 10/07/21 of Bighorn’s “Open Invoice”
online payment processing portal. The remainder of the amount owed to Richfield, being $8,991.11,
is due to applicable finance charges for late payments, which Bighorn agreed to pursuant to the
attached Credit Application and Personal Guarantee, executed on behalf of Bighorn on 6/17/21.

      Pursuant to the terms and protections of the Subcontractor Payment Bond, the Surety
must now pay Richfleld $300,258.49. Payment must be delivered to:

        Richfield Farms, LLC
        P.O. Box 1300
        Hurlock, Maryland 21643

               or

       Richfield Farms, LLC
       4400 East New Market Hurlock Road
       Hurlock, Maryland 21643

      If any additional information may be required to facilitate the processing of the Claim and the
payment to Richfield, please contact me at 410-819-8989 or zachsmith@alrwlaw.com.


                                                      Sincerely,



                                                      Zach A. Smith



Enclosures

cc via Email to:
        Daniel Bolden, Project Manager for Depcom Power (w/Encls.) (Email:
        dbolden@depcompower.com)




                                         2131461679666-M
       Case 1:21-cv-03068-BAH Document 40-5 Filed 07/26/22 Page 4 of 22




                              NOTICE TO SURETY OF
                                CLAIM AGAINST
                        SUBCONTRACTOR PAYMENT BOND NO-
                                 US00104943SU1A


        RICHFIELD FARM, LLC, a Maryland limited liability company, furnished material for
lhe project located in Dorchester County, Maryland and known as “MD70 Richfield.”

        The total amount earned under the subcontractor’s undertaking to the date hereof is Three
Hu ndred Thousand Two Hund red Fifty-Eight and 49/100 Dollars ($300,258.49), of which the
entire Three Hundred Thousand Two Hundred Fifty-Eight and 49/100 Dollars ($300,258.49)
Is due and unpaid as of tlie date liOieof.

       The materials provided under the subcontract were as follows; furnished fill, stone and
other aggregate materials. All materials were furnished between the approximate dates of 7/1/21
and 9/8/21. The materials were furnished to Depcom Power, Inc. The name of the general
contractor is DIgliom Construction and Reclauialiun LLC.

       I do solemnly declare and affirm under the penalties of peijury that the contents of the
foregoing Notice orc true to the best of the affiant’s knowledge, information, and belief.


                                            RICHFIELD FARM, LLC,
                                            a Maryland limited liability company




                                            Date;    ///r /aoj t




                                      2131461679666-M
»                 Case 1:21-cv-03068-BAH Document 40-5 Filed 07/26/22 Page 5 of 22


                DEPCOM
                POWERe
                                                               EXHIBIT G
                                                                                                    Bond No. US00104943SU21A
                                                    Forms of Subcontractor Bonds

                                                   G1 — Subcontract Payment Bond

               KNOW ALL MEN BY THESE PRESENT; That Bighorn Con.struction & Reclamation, LLC as Principal, hereinafter
     called "Principal", and           xl Specialty Insurance Company     . as Surety, hereinafter called "Surety", are held and firmly
     bound unto DEPCOM Power, Inc., as Obligee, hereinafter called "Obligee", in the amount of
    Five Million Five Hundred Fifty One Thousand Four Hundred Seventy Three and 00/100 U.S. Dollars (S       5,551,473.00    ), for the
     payment whereof Principal and Surety bind themselves, their heirs, executors, administrators, successors and assigns,
    jointly and severally firmly by these present.

            WHEREAS, Principal has by written agreement dated      June 17,2021       entered into a Subcontract with
    Obligee for the project called     mdzo "Richfield" which Subcontract is by reference made a part hereof, and is
    hereinafter referred to as the "Subcontract".

                      NOW, THEREFORE, THE CONDITION OF THIS OBLIGATION is such that, if Principal shall promptly
    make payment to all Claimants as hereinafter defined, for all work, labor, material, machinery, or equipment used or
    reasonably required for use in the performance of said Subcontract, then this obligation shall be void; otherwise it shall
    remain in full force and effect, subject; however to the following conditions:
         1.       The said Surety to this bond, for value received, hereby stipulates and agrees that no change or
changes, extension of time or extensions of time, alteration or alterations, or addition or additions to the terms of the
Subcontract or to the work to bo performed thereunder, or the specifications or drawings accompanying same shall in
any way affoct its obligation on this bond, and it does hereby waive notice of any such change or changes, extension of
time or extensions of time, alteration or alterations, addition or additions, to the terms of the Subcontract or to the work
or to the specifications or drawings.

       2.       A Claimant is defined as any subcontractor or any person or entity supplying work, labor, materials,
machinery, or equipment in the prosecution of the work provided for in said Subcontract.

          3.       Every person entitled to the protection hereunder and who has not been paid in full for work, labor,
 materials, machinery, or equipment furnished in the performance of the work under the Subcontract before the expiration
 of a period of one (1) year after the day on which the last of the work or labor was done or performed by him, or the last
 materials or equipment or machinery was furnished or supplied by him for which such claim is made, shall have the right
 to sue on this payment bond for the amount, or the balance thereof, unpaid at the time of the commencement of such
 action and to prosecute such action to final execution and judgment for the sum or sums due him; provided however,
 that any person that does not have a direct contractual relationship with the Principal furnishing said payment bond, shall
 have the right of action upon the said payment bond upon giving written notice to said Principal within ninety (90) days
 from the day on which such person did or performed the last of the work or labor, or furnished the last of the materials
 or machinery or equipment for which such claim is made, stating with substantial accuracy the amount claimed and the
 name of the party to whom the materials were furnished or supplied or for whom the labor was performed or done;
 provided further that nothing contained herein shall limit the right of action to said ninety (90) day period. Notice may be
served by depositing a notice, certified mail, postage prepaid, duly addressed to the Principal at any place he maintains
an office or conducts his business, or his residence, in any post office or branch post office or any letter box under the
control of the Post Office Department. The Obligee shall not be liable for the payment of any cost or expenses of any
such suit, and the Surety will defend, indemnify, and hold harmless the Obligee for reasonable attorney's fees and costs
to defend against any claims for non payment made by any subcontractors, sub-subcontractors, or suppliers of Principal.
No suit or action shall be commenced hereunder by any Claimant other than in a state court of competent jurisdiction in
the county or other political subdivision of the state in which the work, or any part thereof, is located, or in the United
States District Court for the district in which the work, or any part thereof, is located.




EXHEBIT G- Bond Forms                                              1                                               Rev 22-Sep-2020




                                                         2131461679666-M
t                Case 1:21-cv-03068-BAH Document 40-5 Filed 07/26/22 Page 6 of 22

               DEPCOM
               POWER »
            4.       It is expressly agreed with the Principal and the Surety, that the Obligee, if it desires to do so, is at liberty
    to make inquiries at any time of subcontractors, laborers, materialmen, or other parties concerning the status of payments
    for work, labor, materials or services furnished in the prosecution of the work.

             5.      The Obligee will assist and cooperate with the Surety in the same way as the Obligee w/ould the Principal
    but the Obligee will not be required to: A) perform any thing or act, B) give any notice, C) furnish any clerical assistance,
    D) render any service, E) furnish any papers or documents or, F) take any other action of any nature or description which
    is not required of the Obligee to be done under the Subcontract, including but not limited to any statute which requires
    Obligee to proceed to collect the debt from the Principal,

            6.       The penal sum of this bond is defined in Section 8.2 of the Subcontract. It will be increased or decreased
    by the amount of each Change Order addition or deduction to the Subcontract Price if (a) it is clarified by a Change
    Order for ouch, or (b) tho initial Subcontract Price increases by twenty percent (20%). All such penal sum changes shall
    be accompanied by a corresponding bond rider from Surety. The related increase or decrease in the bond premium will
    always be included as a part of any such Change Order amount unless stated otherwise on the face of the Change
    Order



                     Signed and sealed this       25th      day of       June           20 21


    (SE,                                                        Bighorn Construction & Reclamation, LLC
                                                                PRINCIPAL



                                                                BY:
                                                                                  L             /

    Witness                                                             (Name)

                                                               Title:

                                                               Address:      777 Main Street. Suite 2800
                                                                             Fort Worth, TX 76102
(SEAL)                                                         XL Specialty Insurance Company
                                                               SURETY                           ,,

                                                                                                                                 BY:
                                                                        Richard H. Mitchell
Witness                                                                 Attorney-in-Fact
                                                               Address:          70 Seaview Avenue
                                                                                 Stamford, CT 06902




EXHTBrr Ct - Bond Forms                                            2                                             Rev. 22-Sep-2020




                                                         2131461679666-M
                        Case 1:21-cv-03068-BAH Document 40-5 Filed 07/26/22 Page 7 of 22
DocuSi'gn Envelope ID: FE208F84-33F7-4D7F-9048-3C3D2409650D

                                                                         Power of Attorney
                                                                   XL Specialty Insurance Company                                         THIS IS NOT A BOND NUMBER
                                                                    XL Reinsurance America Inc.                                           LIMITED POWER OF ATTORNEY
                                                                                                                                                                     XL 1613644


          KNOW ALL MEN BY THESE PRESENTS; That                                -
                                                                                                                                                                           at 505
                                                  and XL Reinsurance America Inc., a New York insurance company with offices located
          Avenue, Stamford, CT 05902,, do hereby nominate, constitute, and appoint:
          Mark W. Edwards, a, Jeffrey M. WHson, William M. Smith, Richard H. Mitchell, Arma Childress,
          Ferris                                                                                                       Robert R. Free/,                                    AHsa     B.



          each its true and lawful Attome/(s)-ln-fact to make, execute, attest. seal and deliver for and on Its behalf, as surety, and as its act and
          deed, where required, any and all tionds and undertakings in the nature thereof, , for the penal sum of no "one of which is in
                                                                                                                   - - - -          .- .1 any event to
          exceed $100,000,000.00.

          Such bonds and undertakings, when duly executed by the albresald Attorney (s) - in -
                                                                                             - Fact shall be binding upon each said Company as
          fully and to the same extent as if such bonds and undertakings were signed by the President and Secretary of the Company and scaled
          with its corporate seal.

         The Power of Attorney is granted and is signed by facsimile under and by the authority of the following Resolutions adopted by the
                                                                                                                                            Board
         of Directors of each of the Companies on the 26th day of July 2017.

      RESOLVED, that Gary Kaplan, Daniel Riordan, Maria Duhart, Gregory Boal and Kevin Mirsch are hereby appointed by the Board
                                                                                                                                       as authorized
      to make, execute, seal and deliver for and
      co-surety with others and that the Secretary on
                                                    or behalf
                                                       any Assistant Company, of
                                                              of the Secretary anytheandCompany
                                                                                          all bonds, undertakings,
                                                                                                          ~                obligations in surety or
                                                                                        --—7 be and that each of them hereby is authorized to
      attest the execution of any such bonds, undertakings, contracts or obligations in surety or co-surety and attach thereto
      of the Company.                                                                                                            the corporate seal

      RESOLVED,    FURTHER,     that Gary Kaplan, Daniel Riordan, Maria Duhart, Gregory Boal and Kevin Mirsch each is hereby authorized
                               Oualilylng the attorney named In the given power of attorney to ^ecule^                                                     to execute
                                                                                                                               , on behalf of the Company, bonds and
      undertakings in surety or co-surety with others, and that the Secretary or                           Assistant Secretary of the Company be, and that each of
      them is hereby authorized to attest the execution of any such power of attorney, and to attach thereto the corporate seal of the Company.

      RESOLVED, FURTHER, that the signature of such officers named in the preceding resolutions and the corporate seal of the Company may be
      affixed to such powers of attorney r-          or to any certificate relating thereto by facsimile, and any such power of attorney or certificate bearing
      such facsimile signatures or facsimile seal shall      cr,aii be thereafter valid     binding            Company with respect to any bond, undertaking.
      contract or obligation in surety or co-surety with others to which it is attached.
        IN WITNESS WHEREOF, the XL SPECIALTY INSURANCE COMPANY                         has   caused       its   corporate     seal   to   be   hereunto   affixed.   and   these
        presents to be signed by Its duly authorized officers this April 28th, 2021.

                                                                                                                  XL SPECIALTY INSURANCE COMPANY




                                                                                                    by;

                                                                                                                                Gregory Boal, VICE PRESIDEflT




        STATE OF PENNSYLVANIA
        COUNTY OF CHESTER                                                                      Attest:

                                                                                                                            Kevin M. Mirsch, ASSlSTAhfT SECRETARY



       On this 28th day of April, 2021, before me personally came Gregory Boal to me known, who, being duly s.,v„., UiJ
                                                                                                             sworn, did depose and say:
       that he is Vice President of XL SPECIALTY INSURANCE COMPANY, descnbed in and which executed the above instrument-
                                                                                                                           -    that he
       knows the seals of said Companies; that the seals affixed to the aforesaid instrument is
                                                                                                 such corporate seals and were affixed
       thereto by order and authority of the Boards of Directors of said Companies; and that he executed the said instrument by
       order.                                                                                                                        like




                                                  Conwnonwsallh of PenAsytvsnia . Notaw $«ai
                                                    S. Groce Ffe$d>Brown, Noteiy PulMiC
                                                              Chester County
                                                   My cominJssionexpIres MsrahS. 2022
                                                       Cw^selon number 1322812                                                   S. Grace Freed-Brown, NOTARY PUBLIC
                                                  Mamber. )*anA^SRis AueoLuiM Netwiu'^

 SB0042                                                                       Page 1 of 2




                                                                         2131461679666-M
                         Case 1:21-cv-03068-BAH Document 40-5 Filed 07/26/22 Page 8 of 22
Docus'gn Envelope ID; FE208F84-33F7-4D7F-9048-3C3D2409650D



            STATE OF PENNSYLVANIA
            COUNTY OF CHESTER

                          Mirsch,   Assistant Secretary of XL SPECIALTY INSURANCE COMPANY,

            sbll in full fome and effect and has not been revoked.^ ‘ af^cript therefrom and of the whole of the original and that the said Power of Attorney Is


            m WITNESS WHEREOF, I have hereunto set my hand and affixed the seal of said Corporation, at the Oty of Exton, this 2&'**riay of




                                                                                                                           Kevin M. Mirsch, ASSISTANT SECRETARY



         IN WITNESS WHEREOF, XL REINSURANCE AMERICA INC.                        has    caused   its corporate seal to be   hereunto affixed, and these        presents to    be
         signed by its duly authorized officers this 28th day of April, 2021.




                                                                                                                  XL REINSURANCE AMERICA INC.




                                                                                                       Attest;



        STATE OF PENNSYLVANIA                                                                                         Kevin M. Mirsch, ASSISTANT SECRETARY
        COUNTY OF CHESTER

        On this 28th day of April, 2021, before me personally came Gregory Boal to me known, who, being duly                          did dcumu „
                                                                                                                               sworn, did depose and say: that
        he is Vice President of XL REINSURANCE AMERICA INC., described In and which executed the above instrument; 'that he knows
                                                                                                                               —------s the seal of
                                                                    aforesaid instrument is such corporate seal and was affixed thereto by order and authority
        of the Board of Directors of said Corporation, and that he executed the said Instrument by like order.


                                                    Cenunontrasmi Of

                                                               Chester County
                                                      My commission exptras March6.2022
                                                         Cownteatennwuher 1322012                                           S. Grace Freed-Brown, NOTARY PUBLIC

                                                                      AUMlMtMlofNottltoB
       STATE OF PENNSYLVANIA
       COUNTY OF CHESTER

       I, Kevin M. Mirsch, Asstetant Secretary of XL REINSURANCE AMERICA INC. a corporation of the State of New York, do hereby certify that
       t^ person who executed this Power of Attorney, with the rights, respectively of XL REINSURANCE AMERICA INC, do hereby certify that
       ^il               forgoing is a full, true and correct copy of a Power of Attorney issued by said Corporation, and that I have compared same
       with tte original and that it is a correct transcript therefrom and of the whole original and that the said Power of Attorney is still in full force
       and effect and has not been revoked.

       IN    WITNESS WHEREOF,       I have    hereunto set my hand and affixed the seal of said Corporation, at the Qty of Exton,
                                                                                                                                                       this         day of




                                                                                                                       Kevin M. Mirsch, ASSISTANT SECRETARY



        This Power of Attorney may not be used to execute any bond with an inception date after 4/28/2023


 SB0042                                                                               Page 2 of 2




                                                                                2131461679666-M
               Case 1:21-cv-03068-BAH Document 40-5 Filed 07/26/22 Page 9 of 22


Richfield Sand & Gravel
POBox 1300
                                                                                                                    Date           Invoice #
Hurlock, MD 21643
                                                                                                                  7/1/2021             2082



     Bill To
                                                                                           Ship To
  Bighorn Construction & Reclamation
  555 17th Street
  Suite 1725
  Denver, CO 80202




     P.O. Number                Terms                   Ship               Via                       F.O.B.                  Project

                                                      7/1/2021

       Ticket #                              Description                               Quantity                 Price            Amount
       See Attached Tons of Select Fill
                                                                                                43T07                 7.50             3,248.03T
                    Freight                                                                       1.00              382.50               382.50
                    Sales Tax
                                                                                                                   6.00%                 194.88




Thank you for your business.
                                                                                                        Total                     $3,825.41

1.5% monthly service charge (18% annual pcrccntagre rate) is added to accounts past due.




                                                        2131461679666-M
              Case 1:21-cv-03068-BAH Document 40-5 Filed 07/26/22 Page 10 of 22


Richfield Sand & Gravel
PO Box 1300
                                                                                                                Date            Invoice #
Hurlock, MD 21643
                                                                                                             7/23/2021              2084



    Bill To                                                                            Ship To
  Bighorn Construction & Reclamation
  555 17th Street
  Suite 1725
  Denver, CO 80202




    P.O. Number                 Terms                   Ship               Via                   F.O.B.                   Project

    09-1149-4013            Due on receipt           7/23/2021

      Ticket #                               Description                               Quantity             Price             Amount
       See Attached ROAD BASE                                                                804.01               36.00         28,944.36
                    Sales Tax                                                                                   6.00%                0.00




Thank you for your business.
                                                                                                    Total                    $28,944.36

1.5% monthly service charge (18% annual percentagre rate) is added to accounts past due.




                                                        2131461679666-M
              Case 1:21-cv-03068-BAH Document 40-5 Filed 07/26/22 Page 11 of 22


Richfield Sand & Gravel
PO Box 1300
                                                                                                               Date             Invoice #
Hurlock, MD 21643
                                                                                                             7/26/2021               2086



    Bill To                                                                            Ship To
  Bighorn Construction & Reclamation
  555 17th Street
  Suite 1725
  Denver, CO 80202




    P.O. Number                 Terms                   Ship               Via                   F.O.B.                   Project

  09-1149-4012-51...        Due on receipt           7/26/2021

      Ticket #                               Description                               Quantity             Price             Amount
        see attached Tons of Select Fill                                                         14.35             7.50               107.63T
                       Sales Tax                                                                                6.00%                   6.46




                                                                                                    Total                           $114.09

1.5% monthly service charge (18% annual percentagre rate) is added to accounts past due.




                                                       2131461679666-M
              Case 1:21-cv-03068-BAH Document 40-5 Filed 07/26/22 Page 12 of 22


Richfield Sand & Gravel
PO Box 1300
                                                                                                                    Date              Invoice #
Hurlock, MD 21643
                                                                                                                 8/13/2021                2088



    Bill To
                                                                                           Ship To
  Bighorn Construction & Reclamation
  555 17th Street
  Suite 1725
  Denver, CO 80202




    P.O. Number                 Terms                   Ship               Via                       F.O.B.                     Project
  09-1147-9065-51...        Due on receipt           8/13/2021

      Ticket #                               Description                               Quantity                 Price               Amount
       See Attached Class 1 Rip Rap 3-12 Inch- PO                                               206.24                  45.00             9,280.80
                    09-1147-9065-51400
                    Sales Tax
                                                                                                                    6.00%                    0.00




                                                                                                        Total                        $9,280.80

1.5% monthly service charge (18% annual percentagre rate) is added to accounts past due.




                                                       2131461679666-M
              Case 1:21-cv-03068-BAH Document 40-5 Filed 07/26/22 Page 13 of 22


Richfield Sand & Gravel
PO Box 1300
                                                                                                                    Date            Invoice #
Hurlock, MD 21643
                                                                                                                 8/18/2021              2089



    Bill To
                                                                                           Ship To
  Bighorn Construction & Reclamation
  555 17th Street
  Suite 1725
  Denver, CO 80202




    P.O. Number                 Terms                   Ship               Via                       F.O.B.                   Project

                            Due on receipt           8/18/2021

      Ticket #                               Description                               Quantity                 Price             Amount
       See Attached ROADBASE-PO 09-1149-4013-51400                                             1,555.72               36.00         56,005.92
                    Sales Tax
                                                                                                                    6.00%                0.00




Thank you for your business.
                                                                                                        Total                    $56,005.92

1.5% monthly service charge (18% annual percentagre rate) is added to accounts past due.




                                                        2131461679666-M
               Case 1:21-cv-03068-BAH Document 40-5 Filed 07/26/22 Page 14 of 22


Richfield Sand & Gravel
POBox ] 300
                                                                                                                 Date            Invoice #
Hurlock, MD 21643
                                                                                                              8/31/2021              2091




     Bill To                                                                            Ship To
  Bighorn Construction & Reclamation
  555 17th Street
  Suite 1725
  Denver, CO 80202




     P.O. Number                 Terms                   Ship               Via                   F.O.B.                   Project

                             Due on receipt           8/31/2021

       Ticket #                               Description                               Quantity             Price             Amount
        See Attached ROADBASE-PO 09-1149-4013-51400                                         2,378.53               36.00         85,627.08
                     Sales Tax                                                                                   6.00%                0.00




_________________________ _
Thank you for your business.
                                                                                                     Total                    $85,627.08

 1.5% monthly service charge (18% annual percentagre rate) is added to accounts past due.




                                                         2131461679666-M
              Case 1:21-cv-03068-BAH Document 40-5 Filed 07/26/22 Page 15 of 22


Richfield Sand & Gravel
PO Box 1300
                                                                                                                    Date            Invoice #
Hurlock, MD21643
                                                                                                                 8/31/2021              2092



    Bill To                                                                                Ship To
 Bighorn Construction & Reclamation
 555 17th Street
 Suite 1725
 Denver, CO 80202




    P.O. Number                 Terms                   Ship               Via                       F.O.B.                   Project

                            Due on receipt           8/31/2021

      Ticket #                               Description                               Quantity                 Price             Amount
       See Attached ROAD BASE-PO 09-1149-4013-51400                                            1,796.61               36.00         64,677.96
                    Sales Tax
                                                                                                                    6.00%                0.00




Thank you for your business.
                                                                                                        Total                    $64,677.96

1.5% monthly service charge (18% annual percentagre rate) is added to accounts past due.




                                                       2131461679666-M
              Case 1:21-cv-03068-BAH Document 40-5 Filed 07/26/22 Page 16 of 22


Richfield Sand & Gravel
PO Box 1300
                                                                                                                 Date            Invoice #
Hurlock, MD 21643
                                                                                                               9/8/2021              2093



    Bill To                                                                             Ship To
  Bighorn Construction & Reclamation
  555 17th Street
  Suite 1725
  Denver, CO 80202




    P.O. Number                 Terms                   Ship                Via                   F.O.B.                   Project

                            Due on receipt            9/8/2021

      Ticket #                               Description                                Quantity             Price             Amount
       See Attached ROADBASE-PO 09-1149-4013-51400                                          1,188.66               36.00         42,791.76
                    Sales Tax                                                                                    6.00%                0.00




Thank you for your business.
                                                                                                     Total                     $42,791.76

I .5% monthly service charge (18% annual pcrccntagrc rate) is added to accounts past due.




                                                        2131461679666-M
                    Case 1:21-cv-03068-BAH Document 40-5 Filed 07/26/22 Page 17 of 22

 Richfield Farms, LLC
 PO Box 1300
                                                                                Finance Charge
 Hurlock, MD21643                                                                    Date             Invoice #

                                                                                   10/6/2021           FC 206


          Bill To

       Bighorn Construction & Reclamation
       555 17th Street
       Suite 1725
       Denver, CO 80202




                                                                                                     Terms



                                            Description                                     Amount
Finance Charges on Overdue Balance
Invoice #2082 for 3,825.41 on 07/01/2021                                                                5,526.51
Invoice #2084 for 28,944.36 on 07/23/2021
Invoice #2086 for 114.09 on 07/26/2021
Invoice #2088 for 9,280.80 on 08/13/2021
Invoice #2089 for 56,005.92 on 08/18/2021
Invoice #2091 for 85,627.08 on 08/31/2021
Invoice #2092 for 64,677.96 on 08/31/2021




                                                                        Total                        $5,526.51

                                                                        Payments/Credits                 $0.00

                                                                        Balance Due                  $5,526.51




                                                      2131461679666-M
                    Case 1:21-cv-03068-BAH Document 40-5 Filed 07/26/22 Page 18 of 22

 Richfield Farms, LLC
 PO Box 1300
                                                                                     Finance Charge
 Hurlock, MD21643                                                                         Date             Invoice #

                                                                                        11/1/2021           FC 211


          Bill To

        Bighorn Construction & Reclamation
        555 17th Street
        Suite 1725
        Denver, CO 80202




                                                                                                          Terms



                                             Description                                         Amount
Finance Charges on Overdue Balance
Invoice #2082 for 3,825.41 on 07/01/2021                                                                     3,734.60
Invoice #2084 for 28,944.36 on 07/23/2021
Invoice #2086 for 114.09 on 07/26/2021
Invoice #2088 for 9,280.80 on 08/13/2021
Invoice #2089 for 56,005.92 on 08/18/2021
Invoice #2091 for 85,627.08 on 08/31/2021
Invoice #2092 for 64,677.96 on 08/31/2021
Invoice #2093 for 42,791.76 on 09/08/2021




                                                                             Total                         $3,734.60

                                                                             Payments/Credits                 $0.00

                                                                             Balance Due                  $3,734.60




                                                           2131461679666-M
               Case 1:21-cv-03068-BAH Document 40-5 Filed 07/26/22 Page 19 of 22

             Richfield Farms, LLC                                                      statement
             PO Box 1300
             Hurlock, MD 21643                                                                       Date
                                                                                                   11/4/2021



      To:
    Bighorn Construction & Reclamation
    555 17th Street
    Suite 1725
    Denver, CO 80202




                                                                                Amount Due                  Amount Enc.
                                                                                $300,528.49

   Date                                    Transaction                           Amount                         Balance
10/04/2021    Balance forward
10/06/2021                                                                                                           291,267.38
              INV #FC 206. Due 10/06/2021.                                             5..526.51                     296,793.89
              Finance Charge
              — Fin Chg $5,526.51
              — Invoice #2082 for 3,825.41 on 07/01/2021
              — Invoice #2084 for 28,944.36 on 07/23/2021
              — Invoice #2086 for 114.09 on 07/26/2021
              — Invoice #2088 for 9,280.80 on 08/13/2021
              — Invoice #2089 for 56,005.92 on 08/18/2021
              — Invoice #2091 for 85,627.08 on 08/31/2021
              — Invoice #2092 for 64,677.96 on 08/31/2021
11/01/2021    INV #FC 211. Due 11/01/2021.                                             3,734.60                      300,528.49
              Finance Charge
              — Fin Chg $3,734.60
              — Invoice #2082 for 3,825.41 on 07/01/2021
              — Invoice #2084 for 28,944.36 on 07/23/2021
              — Invoice #2086 for 114.09 on 07/26/2021
              — Invoice #2088 for 9,280.80 on 08/13/2021
              — Invoice #2089 for 56,005.92 on 08/18/2021
              — Invoice #2091 for 85,627.08 on 08/31/2021
              — Invoice #2092 for 64,677.96 on 08/31/2021
              — Invoice #2093 for 42,791.76 on 09/08/2021




 CURRENT            1-30 DAYS PAST         31-60 DAYS PAST    61-90 DAYS PAST   OVER 90 DAYS
                          DUE                     DUE               DUE           PAST DUE                  Amount Due

    0.00                 9,261.11               42,791.76        215,591.76       32,883.86                    $300,528.49




                                                     2131461679666-M
                                         Case 1:21-cv-03068-BAH Document 40-5 Filed 07/26/22 Page 20 of 22




BE                                                                                                                                   «   X     c*




         al Br.oion Hvqwmo     AC*rW)n                                      £) S«« Tc-v «ntt IWctucs Ertort


♦>                                                                                                            tin* n»Ml9aw«'nwaK«

                                                                                                                           1C=lt*T
<11 >                                        0
                                            •tn*-*
                                                                            Oc«<n*«F«zi»r

e>      & Mwclcejkclno
                                                                            *e*ats»n :i non ■oiovnMMmMaawafvioMaaaiMoctcarwti

              t-BDw


         I    It es«n ua«

             *« «o«« i<s>»
                                                                            3 «(«>0<«d litvaees

                                                                             ‘JSOOOMoraoau
             Ow-aaOM was

                                                                             U$O 0 0 (>««> t) t«»

                                                                                                                                         n*M
                                                                             USO7<)1?67.3A»«.*i>-.
        <iS>U,RaiCMl«(>x)r'i




                                                                  2131461679666-M
                  Case 1:21-cv-03068-BAH Document 40-5 Filed 07/26/22 Page 21 of 22




        RICHFIELD                                                                                               P.O. Box 1300
                                      p'.
                                                                                                            6002 Shiloh church RD.
                                                                                                              Hurlock, MD 21643
                                                                                                    Phone:410-943 0011 Fax:410-943-0434

                                                                 CREDIT APPLICATION and PERSONAL GUARANTEE
    Name of Business'^ ',              <\                     i i(
                                                                       161A

 Amount of Credit Oosinreal___________________                                                                 Dale
 Street Address ~? T T l'}'!   ('j \7 X if

              i \\i&Cth____________ Slate                                                           Zip Code
                                                                                                        E-Mall
 Telephone No. (                            Z,      C-    Fax No. ( )                                          Cell Phone/Beeper (    )
 Type of Business (Di!                            .^3in JihlTty( C\l'/ C»VT
                                                                                                                                          Years In Business.
 Business is a: Corporation                   Partnership Individually O                    Owned Business LLC              Olher:
         References: Name                     Address                           CUy                   zip                   Phone No.              Account #
                       Sec CiAVaCzV\mj?ArvA

 Wa Bank at:Name Address City Zip Phono No. Account H
                    1 (JO yj I ‘^yCr'Y'k^I
               L/                         LCrjj,
         Incipal owners or officers are:
Name                   Title        Address             Clly                    Zip         Home Phone No.                  Soc. Sec #             Name of Spouse
The Rjnclpal own
1
2.

3
Customer Contact.
Real Estate Owned:                Address               Value                   Title In Name of                   Balance Owed                    Mortgage Co.
1. Home

2. Home
3. Business

We have been previously employed by                                                          V

Is MD Salas Tax Io bo charged?            Q Yes          No     Olher Slates?         Yes        No Specify:
    !W8f Io above Is No. valid cerUtlcale must be provided.

(J % monthly ^i3cb charge\ 18;
1112                                                ilaga ratals ac


                                                                                                                                                               future, and/or oblalnina add




                                     ;d to all terms and conditions stated lieieln.                                        Date
                                                                                                                                     6Z/7/P4
By
The undetslgned^s read
         Signature
                                                                                                                          Witness

           Signature
                                                                     Name Printed                                         Witness




                                                                      2131461679666-M
       Case 1:21-cv-03068-BAH Document 40-5 Filed 07/26/22 Page 22 of 22




                                                                                              a




 Company Information
 Company Name: Bighorn Construction                 Federal ID: XX-XXXXXXX
 Mailing Address: 111 Main St, Ste 2800             Telephone #: 877-702-2726
                  Fort Worth, Tx 76102              Type of Business: LLC
 Duns(D&B) Number: 079303107                        Type of Business: Oilfield Construction
 AP Contact Information
 Name: Renee Vallin                                 Phone Number: 720-520-4222
 Email: rvaHin@bcrcompanies.com
 Bank Information
Name: Keybank                                     Phone: 303-733-0559
Address: 200 N. Broadway Denver Co 80202          Checking Account: 769681092276
Officer: Chad Schneider
Email: Chad_A_Schneider@keybank.com               Phone: 720-904-4333
PO is required (Please see attachment for more information)
Trade Reference

1.     Name: Pilot Thomas Logistics Address:201 N. Rupert, Ft Worth, Tx 76107
       Phone: 877-704-4404          Contact Name:


2.     Name: Express 4x4            Address: 3235 Sunset Lane Hathboro PA 19040
       Phone: 215-443-3360          Contact Name: C.T. Roller
       Email: croller@express4x4rental.com

3.     Name: Komatsu              Address:
       Phone:801-870-0943         Contact Name: Ryan Wangsgard
       Email: kfcustomerservice@komatsuna.com

4.    Name: Trans lease, Inc.      Address: 1400 West 62nd Ave, Denver, CO 80221
      Phone: 303-868-5518          Contact Name: Paul Marollo
      Email: pmarollo@transleaseinc.com

5.    Name: Road Runner           Contact Name: Jeanie Robinette
      Email: irobinette@roadrunnerwv.com
      Phone: 307-635-1270




               555 17"’ Street, Suite 1725 | Denver, CO 802021 BCRCompanies.com




                                      2131461679666-M
